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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION

  CHARLES L. WALDEN               )
                                  )
         Plaintiff,               )                    CASE NO. 5:22-CV-00238-KKC
                                  )
  VS.                             )
                                  )
                                  )
  ENTERPRISE SERVICES GROUP, LLC, )
  et al.                          )
                                  )
         Defendants.              )
                                  )

                            NOTICE TO TAKE DEPOSITION
                                       and
                      NOTICE TO TAKE DEPOSITION DUCES TECUM

         All parties hereto will please take notice that the Defendants, Enterprise Services Group,

  LLC, and Clarence M. Howard, by counsel, will take the deposition, upon oral examination

  pursuant to Fed. R. Civ. P. 26(b)(4)(A) and 30(a)(1) and 30(b)(2), and other applicable law, of the

  following named individual:


         NAME:                  Timothy Wilson, M.D.

         LOCATION:              Medical Expert Group
                                426 Codell Drive
                                Lexington, KY 40509

         DATE:                  July 30, 2024

         TIME:                  3:00 PM EST

         Attached to this Notice as Schedule A is a designation of the materials to be produced upon

  the oral examination of Timothy Wilson, M.D., pursuant to a subpoena Duces Tecum to be served

  upon counsel for plaintiff, who retained said witness in accordance with Fed. R. Civ. P.
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  26(a)(2)(B). This examination by oral deposition will be subject to continuance from time to time

  and place to place until completed.

         This deposition shall be taken for purposes of discovery and all other purposes permitted

  under the Federal Rules of Civil Procedure.

                                                Respectfully submitted,

                                                HAMM, MILBY & RIDINGS, PLLC
                                                120 NORTH MAIN STREET
                                                LONDON, KY 40741
                                                PHONE: 606-864-4126
                                                FAX: 606-878-8144
                                                EMAIL: marcia@hmrkylaw.com
                                                EMAIL: jridings@hmrkylaw.com
                                                ATTORNEYS FOR DEFENDANTS,
                                                ENTERPRISE SERVICES GROUP, LLC AND
                                                CLARENCE M. HOWARD


                                                By: /s/ Jay Ridings
                                                      JAY MILBY RIDINGS

  CERTIFICATE OF SERVICE

         I hereby certify that on the 26th day of June, 2024, I electronically filed the foregoing with
  the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
  to counsel of record.


                                                 /s/ Jay Ridings
                                                COUNSEL FOR DEFENDANTS, ENTERPRISE
                                                SERVICES GROUP, LLC and CLARENCE M.
                                                HOWARD




                                                   2
